            CASE 0:22-mj-00349-JFD Doc. 20 Filed 05/09/22 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                        Criminal No. 22-mj-349 (JFD)


UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )
                                        )
       v.                               )    ORDER FOR DETENTION AND
                                        )    FINDING OF PROBABLE CAUSE
JACK MITCHELL PICHE,                    )
                                        )
                    Defendant.          )



      This matter came before the Court on April 29, 2022, for a hearing on the

United States’ Motion for Detention pursuant to 18 U.S.C. §§ 3142(f) and (g), and a

preliminary hearing on the Government’s Complaint pursuant to Rule 5.1 of the

Federal Rules of Criminal Procedure.

      At the hearing, Defendant Jack Mitchell Piche was present and represented

by Bruce M. Rivers, Esq. The Government was represented by Harry M. Jacobs,

Assistant United States Attorney.

      Mitchell Mabry, who is a Special Agent with the Federal Bureau of

Investigation, testified at the hearing regarding the facts and circumstances

surrounding the current allegations against Mr. Piche.

               FINDINGS OF FACT AND CONCLUSIONS OF LAW

      1.     Based on the record before the Court, including the Complaint and the

testimony of Special Agent Mabry, and the arguments of counsel, the Court finds that
              CASE 0:22-mj-00349-JFD Doc. 20 Filed 05/09/22 Page 2 of 2




the Government established probable cause to believe that Mr. Piche committed

carjacking in violation of 18 U.S.C. § 2119(1).

         2.    Based on the record before the Court, including Mr. Piche’s waiver, the

nature of the charges, and the recommendation in the bond report, the Court further

finds there is no condition or combination of conditions that would reasonably assure

the safety of the community or the appearance of Mr. Piche if he is released pending

trial.

         3.    Pursuant to 18 U.S.C. § 3142(e), detention is appropriate.

THEREFORE, IT IS HEREBY ORDERED that:

         1.    Pursuant to Rule 5.1(e) of the Federal Rules of Criminal Procedure, Mr.

Piche is required to appear for further proceedings in this matter.

         2.    Mr. Piche is committed to the custody of the United States Marshals for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal.

         3.    Mr. Piche shall be afforded reasonable opportunity to consult privately

with his lawyer.

         4.    Upon order of the Court or request by the United States Attorney, the

person in charge of the correctional facility in which Mr. Piche is confined shall

deliver him to the United States Marshal for the purpose of appearance in connection

with all court proceedings.

Dated: May 8, 2022                                s/ Tony N. Leung
                                                  The Honorable Tony N. Leung
                                                  United States Magistrate Judge


                                           2
